Case 2:04-cr-20067-.]DB Document 37 Filed 05/12/05 Page 1 of 6 Page|D 34

UN|TED STATES DlSTRlCT COURT

WESTERN DISTR|CT OF TENNESSEE

NlEIV|PH|S DlVlSlON
UN|TED STATES OF AN|ER|CA

2:05CR20004-B
2:04CR20067-B

-V-

STEPHEN RAYNARD TURN ER

t/

T. C|ifton Harvie|. Ftetained
Defense Attorney
50 North Front Street, Suite 850
Nlemphis, TN 38103

 

JUDGNIENT |N A CR|N||NAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts1 ,2,3,4 & 5 of the indictment in 05-20004 and Count
1 of the indictment in 04-20067 on February 08, 2005. According|y, the court has

adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section law offense Mf§i
Concluded
21 U.S.C. §§ 841 (a)(1), Conspiracy to Possess With intent to 06/08/2004 1
(b)(1)(B) and 846 Distribute l\/|ore Than 500 Grams of (05-20004)
Cocaine

21 U.S.C. §§ 841 (a)(1) Conspiracy With intent to Distribute 06/08/2004 2
(b)(f )(D) and 846 |V|arijuana (05-20004)
21 U.S.C. §§ 841 (a)(1) Possession With intent to Distribute 06/08/2004 3
and (b)(f )(C) Cocaine (05-20004)
21 U.S.C. §§ 841 (a)(1) Possession With intent to Distribute 06/08/2004 4
and (b)(1)(D) |V|arijuana (05-20004)
21 U.S.C. § § 841 (a)(1), Possession With intent to Distribute 09/26/2003 5
(b)(1)(B) and 846 |Vlore Than 500 Grams of Cocaine (05-20004)
21 U.S.C. § 841 (a)(1) Possession With intent to Distribute 05/18/2002 1
and (b)(1)(B) Nlore Than 50 Grams of Cocaine Base (04-20067)

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the l\/iandatory
Victims Fiestitution Act of 1996

|T |S FUFtTHEFt ORDERED that the defendant shatl notify the United States Attorney for
this district within 30 days.of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

This document entered on the dooket/ Sheet in compliance
with auie es major azibj FnorP on J# '05

 

57

Case 2:04-cr-20067-.]DB Document 37 Filed 05/12/05 Page 2 of 6 Page|D 35
Case No: 2:OSCR20004, 2:04CF¢20067 Defendant Name: Stephen Ftaynard TURNER Page 2 of 5

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/6/1962 l\/lay 12, 2005
Deft’s U.S. |V|arsha| No.: 19498-076

Defendant’s Nlai|ing Address:
154 Campbe|| Street
Ftip|ey, TN 38063

/Nee\

J. DANIE]_ BF{EEN
U |TED STATES D|STRICT JUDGE

 

Niay ZL , 2005

Case 2:04-cr-20067-.]DB Document 37 Fiied 05/12/05 Page 3 of 6 PageiD 36

Case No: 2:050|320004, 2:04CR20067 Defendant Name: Stephen Fiaynard TURNEFi Page 3 of 5

liiiiPR|SONiV|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 188 iiiionths.

This term of custody is imposed as foiiows: 188 iVionths as to counts 1 ,3 & 5 in case
number 05-20004 and count 1 of case number 04-20067, to be served concurrently; and
60 iVionths custody as to counts 2 & 4 in case number 05-20004, to likewise be served
concurrently

The Court recommends to the Bureau of Prisons:

- The 500 Hour Drug Treatment Program
- Placement as close to iViemphis, Tennessee, as possible

The defendant is remanded to the custody of the United States Niarshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES iViARSHAL
By;

 

Deputy U.S. i\/iarshai

Case 2:04-cr-20067-.]DB Document 37 Fiied 05/12/05 Page 4 of 6 PageiD 37

Case No: 2:050820004, 2:O4CFt20067 Defendant Name: Stephen Flaynard TURNEF! Page 4 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of reiease from custody of the Bureau of Prisons,

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substanoe, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20067-.]DB Document 37 Fiied 05/12/05 Page 5 of 6 PageiD 38

Case No: 2:050|=120004, 2:04CFt20067 Defendant Name: Stephen Raynard TUFlNEFi Page 5 of 5

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine ora restitution obiigation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nionetary Pena|ties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer. `

2) Seek and maintain full-time employment.

3) lViake full financial disclosure to the Probation Officer.

4) Cooperate with DNA collection as directed by the probation Officer.

CR|M|NAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$600.00
The Speciai Assessment shall be due immediatelyl

FlNE
No fine imposed.

RESTITUTION
No Fiestitution was orderedl

 

oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20067 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

Leonard E. Luoas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

